             Case 2:18-mj-00152-EFB Document 267 Filed 04/30/20 Page 1 of 3

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14
                              IN THE UNITED STATES DISTRICT COURT
15
                                 EASTERN DISTRICT OF CALIFORNIA
16

17   IN THE MATTER OF THE EXTRADITION          CASE NO. 2:18-MJ-152 EFB
     OF OMAR ABDULSATTAR AMEEN TO
18   THE REPUBLIC OF IRAQ
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23            UNITED STATES’ RESPONSE TO STATUS REPORT REGARDING TURKCELL
           RECORDS AND OPPOSITION TO ADMISSION OF POLYGRAPH EXAMINATION
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              Case 2:18-mj-00152-EFB Document 267 Filed 04/30/20 Page 2 of 3

 1           The United States continues to oppose any delay in proceedings, for the reasons previously

 2 expressed. CR 32; 256. However, the United States is mindful of the Court’s directive to provide

 3 assistance in the letters rogatory process, CR 257, and the United States has taken the following steps to

 4 facilitate an expeditious response to the defense letter rogatory, to the extent possible. The Office of

 5 International Affairs of the Department of Justice has repeatedly inquired with the Department of State

 6 as to the status of the letter rogatory, stressing the need to expedite. The Department of State has in turn

 7 transmitted the letter rogatory, confirmed that the Government of Turkey received it, and has regularly

 8 inquired as to its status.

 9           Separately, regarding the United States’ filing relating to TMF-1, CR 264, the defense

10 mistakenly states that TMF-1 has received immigration benefits. The United States indicated nothing

11 about immigration benefits, and in fact TMF-1 has received no such benefits. CR 264. The United

12 States simply disclosed the occurrence of a recent monetary payment by the FBI, necessitated by threats

13 to the life of TMF-1 as a result of media coverage of this case. The United States did not correct the

14 record, for the previous statement regarding benefits to TMF-1 was correct at the time, but rather

15 provided updated information. This updated information has no bearing on the reliability of assistance

16 provided by TMF-1 well beforehand.

17           Finally, the United States opposes the admission of the polygraph examination. Defense exhibits

18 158, 159. Evidence of Omar Ameen stating that he did not travel to Rawah and did not commit the

19 murder is inadmissible contradictory evidence. Santos v. Thomas, 830 F.3d 987, 992-93 (9th Cir. 2016)

20 (“We have also described ‘contradictory” evidence as evidence “the credibility of which could not be
21 assessed without a trial.’ In practice, this means that an individual contesting extradition may not, for

22 example, present alibi evidence, facts contradicting the government’s proof, or evidence of defenses like

23 insanity, as this tends to call into question the credibility of the government’s offer of proof. . . .”)

24 (citations omitted). One eyewitness saw Ameen commit the murder; two witnesses present at the

25 murder were told at the time of the crime that Ameen committed the murder; another witness saw

26 Ameen en route to the murder as part of an ISIS caravan; and a fifth witness stated that Ameen was in

27 Rawah at the time of the fall of Rawah. Ameen may not present the results of his polygraph

28 examination, which only contradicts and does not obliterate these overlapping, corroborating eyewitness
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             Case 2:18-mj-00152-EFB Document 267 Filed 04/30/20 Page 3 of 3

 1 accounts in these extradition proceedings. This question of credibility must be reserved for the trial

 2 court in Iraq.

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        Dated: April 30, 2020                                 McGREGOR W. SCOTT
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                                                         By: /s/ Audrey B. Hemesath
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